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                          UNITED STATES DISTRICT COURT

                         SOUTHERN DISTRICT OF GEORGIA                                     -

                                 SAVANNAH DIVISION



UNITED STATES OF AMERICA                    )
                                            )
                                            )
                                            )
RANDY ANTONIO MARTIN                        )      INDICTMENT NO. CR407-00045-OO1



                                           ORDER

       After careful consideration, Defendant's Motion for Appointment of Counsel (Doe. 104,

filed on January 23, 2009) is DENIED.



              SO ORDERED, this          ' day of February, 2009.



                                                     Ava t Edenfield        //
                                                   United States District Jfáge
                                                   For the Southern District of Georgia
